                                                                                           FILED
                                                                                           CLERK
UNITED STATES DISTRICT COURT                                                   4:45 pm, Jun 27,2022
EASTERN DISTRICT OF NEW YORK                                                       U.S. DISTRICT COURT
-------------------------------------------------------------X                EASTERN DISTRICT OF NEW YORK
ARISTIDES ALFREDO DILLATORO and                                                    LONG ISLAND OFFICE
FRANCISCO RODRIGUEZ,

                                   Plaintiffs,

        - against -                                                JUDGMENT
                                                                   CV 16-254 (DRH) (ARL)
DENNIS D’ONOFRIO, RODGE RESTAURANT,
INC. doing business as Alfredo’s Pizza and
PHILIP D’ONOFRIO,

                                    Defendants.
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        An Order of Honorable Denis R. Hurley, United States District Judge, having been filed

on June 23, 2022; adopting the May 25, 2022 Report and Recommendation of United States

Magistrate Judge Arlene R. Lindsay; granting Plaintiff Aristides Alfredo Dillatoro’s motion for

attorneys fees and costs as follows: $27,588.75 in attorneys’ fees and $1,742.27 in costs for a

total of $29,331.02; and directing the Clerk of Court to enter judgment in favor of plaintiffs’

attorneys, the Moser Law Firm, P.C., it is

        ORDERED AND ADJUDGED that Plaintiff Aristides Alfredo Dillatoro’s motion for

attorneys fees and costs is granted; that the Moser Law Firm, P.C. is awarded a judgment in the

total amount of $29,331.02 for attorneys fees and costs against Defendants Ridge Restaurant and

Dennis D’Onofrio.


Dated: June 27, 2022
       Central Islip, New York

                                                                   BRENNA B. MAHONEY
                                                                   CLERK OF THE COURT
                                                             By:   /s/ Mary Ellen Kirchner
                                                                   Deputy Clerk
